         Case 3:12-cr-02496-AJB                      Document 169                 Filed 06/03/13             PageID.352              Page 1 of 2


     'AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
                Sheet I



                                              UNITED STATES DISTRICT COLTRt3 JU1! -3 PI1 2: 4t.
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE tVJ
                                        v.                                                                       i ~tlT Y
                                                                                     (For Offenses Committed On or After November 1,

           JOSE ALEXANDER CARDONA-VASQUEZ (01)                                       Case Number: 12CR2496-AJB
                                                                                     Jeremy D. Warren
                                                                                     Defendant's Attorney
     REGISTRATION NO. 34982298

     D
     THE DEFENDANT:
     I8J pleaded guilty to count(s) _E_ic;,.g_ht_o_f_th_e_I_n_dl_·c_tm_e_n_t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     D was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                         Nature ofOtJense                                                                              Number(s)
8 USC 1324(a)(l )(A)(ii)               Conspiracy to Transport Illegal Aliens                                                                  8




        The defendant is sentenced as provided in pages 2 through                2          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D   The defendant has been found not guilty on count(s)

  I8J Count(s)_R_em_a_i_ni....;ng:::...,..C_ou_n_ts_._ _ _ _ _ _ _-----------------------------------------------
                                                                  _ _ _ _ _ _ _ is D arel8J dismissed on the motion of the United States.
  181 Assessment: $100.00

  181 Fine waived                                   D Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                               12CR2496-AJB
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AO 245B (CASD) (Rev. 1112)   Judgment in a Criminal Case
            Sheet 2 - Imprisonment

                                                                                              Judgment-Page _ _2_ of         2
 DEFENDANT: JOSE ALEXANDER CARDONA-VASQUEZ (01)
 CASE NUMBER: llCR2496-AJB
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         EIGHTEEN (18) MONTHS




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o   The court makes the following recommendations to the Bureau of Prisons:




    o The defendant is remanded the custody of the United States Marshal.
                                          to

    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Oa.m.    Op.m.         on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States MarshaL

    o The defendant shall surrender for service of sentence at the institution designated the Bureau of Prisons:
                                                                                              by
          o before ---------------------------------------------------------------
          o as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.


                                                                RETURN

 I have executed this judgment as follows:

        Defendant delivered on        _____________________________ to

 at _________________________ , with a certified copy of this judgment.


                                                                                            UNITED STATES MARSHAL


                                                                      By _ _ _ _ _~~~~==~~~~~------
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                    12CR2496-AJB
